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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------)(
CHAD STANBRO,                                                               7:19-cv-10857 (CM)

                                    Plaintiff,
                                                                            AFFIRMATION IN
                           -against-                                        SUPPORT OF MOTION
                                                                            IN LIMINE
WESTCHESTER COUNTY HEALTH CARE CORPORATION,
WESTCHESTER MEDICAL CENTER, FRANK WEBER and
JOHN FULL,

                                    Defendants.
--------------------------------------------------·---·------ )(
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ )(
CHAD STANBRO,

                                    Plaintiff,                              7:20-cv-01591 (KMK)

                          -against-

CORRECTION OFFICER NADYA PALOU, CORRECTION
OFFICER RAYMOND DEAL, CORRECTION OFFICER
KRISTOFER LEONARDO, CORRECTION OFFICER RICHARD
LANDRY, CORRECTION NURSE GARY PAGLIARO and
CORRECTION SERGEANT ENRIQUE TORRES,

                                    Defendants.
---------------------------------      --------------------------- )(

        CLAUDINE WEIS, ESQ., affirms and states the following under penalties of perjury:

        I am a partner with the firm of Wilson, Bave, Conboy, Cozza & Couzens, PC., attorneys

for the defendants, WESTCHESTER COUNTY HEALTH CARE CORPORATION,

WESTCHESTER MEDICAL CENTER and DR. JOHN FULL (WCHCC, Dr. Full), in the

above captioned action.

        This affirmation is in support of the motion to preclude and/or dismiss various evidence

and claims from being introduced by Plaintiff at the trial of the above captioned matter pursuant


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to the Federal Rules of Evidence, as well as any further relief the Court may deem just and

proper.


                                    PRELIMINARY STATEMENT

          WESTCHESTER COUNTY HEALTH CARE CORPORATION, WESTCHESTER

MEDICAL CENTER and DR. JOHN FULL (hereinafter WCHCC, WMC or Dr. Full) now

submit the instant motions in limine to preclude (or in the alternative limit) certain evidence or

testimony at trial. Specifically, Defendants seek to: (I) dismiss claims for punitive damages (2)

preclude testimony by Plaintiffs designated expert; (3) dismiss plaintiffs 1983 claims as to

WCHCC and Dr. Full; and (4) dismiss plaintiffs vicarious liability claims as to Dr. Frank

Weber, dental attending.

                                       LEGAL STANDARD

          It is well established:

          "A district court's inherent authority to manage the course of its trials encompasses the

right to rule on motions in limine." Highland Capital Mgmt., L.P. v. Schneider, 551 F. Supp. 2d

173, 176 (S.D.N.Y. 2008) (citing Luce v. United States, 469 U.S. 38, 41 n.4 (1984)). An in

limine motion is intended "to aid the trial process by enabling the Court to rule in advance of

trial on the relevance of certain forecasted evidence, as to issues that are definitely set for trial,

without lengthy argument at, or interruption of, the trial." Palmieri v. Defaria, 88 F .3d 136, 141

(2d Cir. 1996); Hernandez v. Hacienda Mexicana Corp., 17-cv-5608 (NSR), 2018 U.S. Dist.

LEXIS 206824 *3 (S.D.N.Y. 2018). "Because a ruling on a motion in limine is 'subject to

change as the case unfolds,' this ruling constitutes a preliminary determination in preparation for

trial." United States v. Perez, No. 09- CR-1153 (MEA), 2011 WL 1431985, at *1 (S.D.N.Y.

Apr. 12, 2011) (quoting Palmieri, 88 F.3d at 139).


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        In ruling on motions in limine, the Court looks to the Federal Rules of Evidence, to

ensure that only relevant evidence is admitted. Hernandez at *4. Relevant evidence may still be

excluded by the Court "if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence." Fed. R. Evid. 403.

        Further, with respect to expert testimony, a court must look at whether the expert has met

the standards of Fed. R. Evid. 702. Algarin v. N.Y. City Dep't ofCorr., 460 F. Supp. 2d 469, 476

(S.D.N.Y. 2006), affd 267 F. App'x 24 (2d Cir. 2008). This includes a requirement that the

expert identify generally accepted standards relevant to the opinion testimony, and is based upon

reliable principles and methods. Id.

                                       LEGAL ARGUMENT

                                             POINT I

                Plaintiff's Claims for Punitive Damage Should be Dismissed

       Plaintiffs Complaint asserts a demand for punitive damages against WCHCC and Dr.

John Full. Punitive damages are only awarded in cases where there is evidence of spite, malice,

or evil motive by a defendant, and there is a conscious disregard of plaintiffs interests. Raedle v.

Credit Agricole Indosuez, No. 04 Civ. 2235 (TPG) (S.D.N.Y. Apr. 14, 2010). An act is malicious

when it is done deliberately with knowledge of the plaintiffs rights and with intent to interfere

with those rights. There has been no evidence presented that suggests WCHCC or Dr. Full acted

out of spite, malice, or evil motive, or conscious disregard to Plaintiffs interests. There has been

no proffered evidence that either WCHCC or Dr. Full's actions in their limited involvement in

plaintiff care was so egregious as to call for punitive damages.

       There is no evidence in the record either documentary or testimony to support plaintiffs

claims for punitive damages against WCHCC, WMC or Dr. Full. In fact, Dr. Full, in his role as

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the assistant, provided help to Dr. Weber. He described his role as assisting the attending, by

starting the IV, assisting in administering medications or simply being an "extra" set of hands to

help (Full transcript, Ex. "A", pg. 140.

           When the plaintiff requested they not use a certain sedation medications his request was

respected by the dental team (Full, Ex. A pg. 16) Dr. Full testified that in response to plaintiffs

request "We respected his thoughts and feelings towards that, so we did not administer

propofol." (Ex. A, pg. 16). When the procedure started and plaintiff had been administered

sedation by IV Versed and Fentenyl with subsequent oral local anesthesia he became

"combative" and "aggressive" , moving his body, arms, and yelling to "get out of [his] mouth"

(Ex. A, 29, 30, 32; WMC Dental Chart, Ex. "B"). Plaintiff became "enraged ... aggressive ... "

within approximately 20 minutes of the procedure, which Dr. Full attributed to pain related to the

manipulation of his jaw (Ex. A, pg. 42). Dr. Weber was trying to speak to plaintiff and calm him

down, to take deep breaths, and advising him everything was "OK" (Ex. A, pg. 53). However, he

responded aggressively and stood up from the chair (Ex. A, pg. 42, 53) As such, the decision was

made by Dr. Weber to abort the procedure (Ex. A, pg. 42). Dr. Weber directed him to leave the

room because "we felt threatened ... the patient was extremely agitated and aggressive ... " (Ex.

A, pg. 54-55). Dr. Full was not in the room when the correction officers took over and attempted

to restrain the plaintiff and, therefore he did not see everything that occurred in the room (Ex. A,

pg. 57).

       What Dr. Full did observe on the few occasions he looked into the room when plaintiff

was still there did not include any use of force by the officers (Ex. A, pg. 65); observed him

sitting on the floor calming down (Ex. A at 66); he was conscious and breathing on his own (Ex.

A at 67). The situation at that point appeared to have been "de-escalated" and appeared to be

"under control" (Ex. A at 71-72).

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        The patient was subsequently discharged from the dental clinic, however, Dr. Full did not

see the plaintiff when that occurred (Ex. A at 71). The last time he saw plaintiff in the clinic was

when he was sitting on the floor (Ex. A at 74-75). Dr. Full was not present when the wheel chair

was requested (Ex. A at 72, 74). Dr. Full did not have any input with the discharge of the patient.

Dr. Full testified that Dr. Weber makes the decision to discharge the patients (Ex. A at 70-71).

        While plaintiffwas removed from the dental clinic in a wheel chair, this did not imply he

was injured. Dr. Full testified patients who have received sedation "typically get escorted out in a

wheel chair" and it was "normal" after sedation as it is "safer to have them .. .instead of having

them walk on their own" (Ex. A at 72-73).

       It is clear from the record there was no malicious intent, evil motive, or conscious

disregard to plaintiffs interests during the limited involvement Dr. Full had with him during the

attempted dental procedure and subsequent events. Further, there was no "opportunity" as

asserted by plaintiff to intervene when the patient was being discharged because Dr. Full was not

present and no longer involved with the patient's treatment (see Supra). Dr. Full was very clear

that they attempted to respect plaintiffs wishes and showed concern during the course of the

procedure by attempting to calm him down and convey to plaintiff everything was OK (Supra).

Dr. Full was not present and did not observe plaintiff when the wheelchair was requested or

when plaintiff was discharged, did not observe anything to indicate plaintiff was injured, and, as

he testified he was not involved in the decision to discharge the plaintiff (Supra).

       Plaintiff pled no legal basis for a punitive damages demand. Further, New York law does

not recognize a freestanding, separate cause of action for punitive damages. La Porta v. Alcara,

Inc., 142 A.D.3d 851, 853, (N.Y. App. Div. 2016). Thus, because Plaintiffs claim for punitive

damages is dependent on the validity of Plaintiffs underlying causes of action against the

defendants -none of which currently exist-it is respectfully noted the Court must dismiss any

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punitive damages claim as a matter of law. See Sharpira v. Charles Schwab & Co., Inc., 187 F.

Supp. 2d 188, 192 (S.D.N.Y. 2002). As such, there is no basis for plaintiffs claims for punitive

damages.


                                            POINT II

               Plaintiff's Expert's Testimony and Report Should be Precluded

       Defendants aver that Dr. Robert Todd's proposed trial testimony and report should be

precluded under Rule 702. (Ex. C).

       Dr. Robert Todd was retained by plaintiff on or about January 6, 2021 to perform a

neurologic Independent Medical Examination of the plaintiff (pg.1). Defendants aver that Dr.

Robert Todd's expert testimony and report should be precluded under Rule 702. (Ex. C).The

examination took place on January 6, 2021. Thereafter, Dr. Todd completed a report of his IME,

dated June 28, 2021, over 6 months after his examination of the plaintiff. Dr. Todd stated in his

report he is a board certified neurologist who, as he explained to plaintiff ''the purpose of the

IME included the fact that no doctor-patient relationship existed" (pg. 1, 6).

       Dr. John Full was an oral surgery resident physician employed by Westchester Medical

Center (Ex A at 8-9, 82). Dr. Frank Weber is a board certified oral surgeon (Weber transcript,

Ex. D at 10). The plaintiff was treated on August 31, 2018 in the WMC dental clinic (WMC

Dental Chart, Ex. B).

       It should be highlighted, Dr. Todd's expert report failed to identify medical standards and

instead expressed his personal judgment. (Ex. C) Specifically, the Todd Report does not raise a

genuine issue of material fact as to whether Defendants, Dr. Full or WMC, failed to meet

applicable medical standards with respect to the dental treatment and discharge of the plaintiff in

his report because Dr. Todd fails to identify any standard generally accepted in the dental

community. A review of the entire report and each of the conclusions of Dr. Todd reveals that
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Dr. Todd never purports to define any generally accepted standard in the field of oral surgery or

even dentistry and that each of his conclusions were made without reference to an operative

accepted dental or medical standard.

          The testimony of an expert at trial must be reliable and relevant. The standards governing

the admissibility of expert testimony are set forth in Rule 702, which provides that "[a] witness

who is qualified as an expert by knowledge, skill, experience, training, or education may testifY

in the form of an opinion" if four conditions are met:

          (1) "the expert's scientific, technical, or other specialized knowledge will help the trier of
          fact to understand the evidence or to determine a fact in issue";
          (2) "the testimony is based on sufficient facts or data";
          (3) "the testimony is the product of reliable principles and methods"; and
          (4) "the expert has reliably applied the principles and methods to the facts of the case."
          Fed. R. Evid. 702.

          This rule imposes a "gatekeeping" function upon courts, meaning that courts must ensure

"that an expert's testimony both rests on a reliable foundation and is relevant to the task at hand."

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993). Even so, the standard for

admissibility under Rule 702 is "liberal" and represents "a more permissive approach to expert

testimony." Nimely v. City of New York, 414 F.3d 381, 395-96 (2d Cir. 2005). In fulfilling their

gatekeeping function, courts "must determine 'whether the proffered testimony has a sufficiently

'reliable foundation' to permit it to be considered."' Amorgianos v. Amtrak, 303 F.3d 256, 265

(2d Cir. 2002) (quoting Campbell v. Metro. Prop. & Cas. Ins. Co., 239 F.3d 179, 184 (2d Cir.

2001)).

          Defendants assert that Dr. Todd's failure to identifY medical standards shows that his

opinion lacks foundation. Dr. Todd's report failed to include any standard generally accepted in

the dental community and he has failed to show his expert opinions are a product of reliable

principles and methods, and therefore do not rest on a reliable foundation. Fed. R. Evid. 702(c);

See City of Almaty v. Ablyazov, 15-cv-5345 (AJN), 2021 U.S. Dist. LEXIS 214695 (S.D.N.Y.
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Nov. 5, 2021) (excluding specific opinions of various experts where those opinions were not the

product of reliable principles and methods). Accordingly, Dr. Todd's opinion testimony and

report should be precluded.

        With respect to dental testimony, this requires identification and application of dental

standards generally accepted in the medical community. Berk v. St. Vincent's Hosp. & Me d. Ctr.,

380 F. Supp. 2d 334, 352-55 (S.D.N.Y. 2005). Here, it is quite clear that Dr. Todd's failure to

identifY the community standards applicable to this matter is a fatal flaw in his report and

proposed testimony in the within case.

       Dr. Todd's anticipated testimony stems from his report, dated June 28, 2021 notably

include:


       (1) Event One (pg.10): The Aldrete Score which was to be measured at the time of
           discharge following the procedure (pg. 10) and measured as an outcome of 10/10 was
           a "physical impossibility based on t[his viewing of] the ... hallway video" and "he
           could not have had a score of 10 at that time" (pg. 11, 15), referring to the video in
           the hallway ofthe clinic where plaintiff was seen being wheeled out of the procedure
           room in a wheelchair.
       (2) Opinion One (pg. 15): Dr. Todd states plaintiff sustained a cervical injury from "blunt
           force trauma" and progressed over time due to a delay in immobilization, evaluation
           and treatment (pg. 15). That "because ofthe delay he suffered a more serious injury,
           experienced a less complete recovery and had several additional hours of pain and
           suffering"(pg. 15).
       (3) Opinion Two (pg.16): Dr. Todd refers to plaintiffs two subsequent suicide attempts
           and injuries sustained as a result of the attempts to include exacerbation of his
           cervical injuries including paraplegia symptoms (pg. 16) That because ofthe August
           31, 2018 incident he will be at greater risk of injury.
       (4) Conclusions (pg. 18): Dr. Todd forms the conclusion that plaintiff differed an acute
           spinal cord injury as a consequence of bunt trauma 9pg. 18). He concluded the
           injuries were aggravated by a "delay in [plaintiffs] evaluation, diagnosis and
           treatment" and the "aggravation resulted in a permanent increase in the level of
           injury", this delay "caused unnecessary pain and suffering beyond that which would
           have been present with timely evaluation" (pg. 18).

       In each one of the above "opinions" which were parsed out from the IME report are

nothing more than mere conclusions and speculative theories .


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           It was Dr. Todd's burden, in the first instance, to identify generally accepted medical

standards and to apply them to the facts of this case in reaching his conclusions. Algarin v. N. Y

City Dep 't of Carr., 460 F. Supp. 2d 469, 477 (S.D.N.Y. 2006). He did not. (Ex. C). It is

generally conceded that an expert's report is required to include "all opinions the witness will

express and the basis and reasons for them." Fed. R. Civ. P. 26(a)(2)(B) (emphasis added).

Further, it is also well established experts must state their opinions only within their field of

expertise. Lyster v. Metzger, 68 Wash. 2d 216, 412 P.2d 340 (1966); Dobias v. W Farmers, 6

Wn App. 194, 491 P.2d 1346 (1971)(emphasis added). In this case, the only opinion Dr. Todd

could express his opinion would be of that of a neurologist - not an oral surgeon as he attempts

to here.

           New York Courts agree that where an expert's opinion is based on guesswork and

speculation, it is of no probative value and worthless as evidence. Diaz v. New York Downtown

Hospital, 99 N.Y.2d 542 (2002); Lynn G. v. Hugo, 96 N.Y.2d 306 (2001). Expert opinions that are

conclusory or unsupported by the record are also uniformly rejected by New York Courts. See,

France v. Packy, 121 A.D.3d 836 (2d Dept. 2014) (expert's vague and conclusory statements failed

to raise a triable issue of fact); Andreoni v. Richmond, 82 A.D.3d 1139 (2d Dept. 2011) (plaintiff's

expert failed to address the opinions offered by the defendant's expe11 and his affidavit was

conclusory). Where an expert fails to explain the basis for his or her conclusions, the expert's

opinions amount to mere speculation. See, Capobianco v. Marchese, 125 A.D.3d 914 (2d Dept.

2015 ); Cafaro v. Ceka, 120 A.D.3d 732 (2d Dept. 2014).

           The Todd Report does not raise a genuine issue of material fact as to whether Defendants

failed to meet applicable dental and medical standards with respect to the care and treatment of

Plaintiff because Dr. Todd fails to identify any standard generally accepted in the dental

community. He failed to set forth what constitutes the applicable medical standard for a oral


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surgery resident physician who was under the supervision and direction of an oral surgery

attending, such as the case between Dr. Weber and Dr. Full; nor the duty and responsibilities of a

patient under the care of a private oral surgical attending who was engaged for the principal

purpose of treating a patient; nor the criteria or standard in evaluating a patient such as plaintiff

for post anesthesia recovery, the duration in which anesthetic agents last in a patient once

terminated or the standard of care in discharging a patient who had undergone a procedure with

the use of sedation in a clinic setting.

        The Todd Report and the parsed out "opinions" it is clear it is nothing short of

speculative conjecture and conclusory statements which lack a proper foundation to support a

conclusion that WCHCC and/or Dr. Full breached accepted medical standards.

        As outlined in his "Event One" opinion that the Aldrete score after his viewing of the

video and plaintiff being wheeled from the procedure room was a "physical impossibility" and

he "could not have had a score of 10" is nothing short of his own opinion, speculative in nature,

and failed to take in the testimony of Dr. Full that it is not uncommon for patients who have

received sedation to be transported via wheelchair. (Todd Report, Ex. C, pg. 10). Further, he

failed to state with a degree of medical certainty that the manner in which Dr. Full completed the

post anesthesia form or Aldrete score sheet departed from accepted standards of medical

treatment. Further, that is was that alleged departure which caused and/or was casually related to

plaintiffs injury. A necessary component to a medical malpractice claim.

       As to his Opinion One (pg. 15) Dr. Todd states without any specification within a

reasonable degree of medical certainty that it was the alleged delay which caused plaintiff to

have "suffered a more serious injury, experienced a less complete recovery and had several

additional hours of pain and suffering"(pg. 15). This too is northing more than a speculative and



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specious statement without any foundation or opinion within a medical degree of reasonable

certainty.

        Furthermore, as within Dr. Todd's "Conclusions" (pg. 18) these are nothing more than

mere speculation and conjecture on Dr. Todd's part without any basis in dental practice or

rendered within a reasonable degree of medical certainty by this purported expert of plaintiff.

The fact that Dr. Todd forms the conclusion that plaintiff suffered an acute spinal cord injury as a

consequence of"blunt trauma" is based on nothing other than conjecture. There is no evidence in

the record plaintiff's injury was caused by blunt trauma. He further concludes the injuries were

aggravated by a "delay in [plaintiff's] evaluation, diagnosis and treatment" and the "aggravation

resulted in a permanent increase in the level of injury", this delay "caused unnecessary pain and

suffering beyond that which would have been present with timely evaluation" (pg. 18). These

allegations warrant an expert opinion made within a reasonable degree of medical certainty and

are not. These assertions are nothing more that conclusory, speculative statements made by a

medical professional who is not of the same expertise as the defendants in this case, and as such,

his report and proposed testimony should be precluded.

        It should also be pointed out to the court Dr. Todd does not state in his report that

plaintiff should not have been discharged, or released, by Dr. Weber, or that the decision to

discharge the patient was not appropriate (Ex. C). He fails to address the matter of discharge

within his report altogether and should be permitted to testify to as such at the time of trial for he

fails to opine within a reasonable degree of medical certainty that it was a departure from the

standard of care to release the patient at the conclusion of his 8/31117 procedure.

       Accordingly, his conclusion that the Aldrete Score could not have been completed in the

manner as it was based on the video; that the delay in evaluating, treating and diagnosing the

patient resulted in a more serious injury than had he been taken for treatment right away "cannot

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be read to express any more than simply his personal disagreement with the [Defendants']

treatment decisions." Algarin v. New York City Dep 't of Correction, 460 F. Supp. 2d 469, 477

(S.D.N.Y. 2006), affd, 267 F. App'x 24 (2d Cir. 2008).


                                                 POINT III

             Dismissal of the 1983 Claims Against Dr. Full, WMC and WCHCC as
                 Plaintiff Fails to Support a Claim for deliberate Indifference

         To sustain a claim pursuant to 42 USC § 1983 plaintiff must allege deprivation of a

constitutional or federal statutory right by a defendant acting under color of state law. West v.

Atkins, 487 U.S. 42, 48, 108 S.Ct. 2250, 101 L.Ed. 2d 40 (1988). In order to find that a private

individual was acting under color of state law plaintiff must present proof that the individual

conspired with a state official to deprive plaintiff of constitutional rights. Tower v. Glover, 467

U.S. 914, 919-20, 104 S.Ct. 2820, 81 L.Ed. 2d 758 (1984). The §1983 "under color of law"

requirement is synonymous with "state action" under the Constitution. Rendell-Eaker v. Kohn,

457 U.S. 830 (1982).

        It is not disputed that WCHCC is a public benefit corporation created by the state

legislature. It is also not disputed that Dr. John Full, a resident in the employ of WMC (supra).

The fact WCHCC is performing a public function does not in and of itself make it a state actor.

        The question is whether the function performed was one "traditionally the exclusive

prerogative ofthe State". Three tests are used to determine whether a defendant is a §1983 case

is a state actor.

                    a.   State Compulsion Test

                           The state can be held responsible for a private decision only when it has
                    exercised coercive power or gave significant encouragement that the choice must
                    be deemed to be the States. Blum v. Yaretsky, 457 U.S. 991, 1004 (1982).

                            In this case plaintiff does not allege decedent was hospitalized against his
                    will and in fact alleges the hospital did not seek an order requiring him to remain
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                ~35.  The fact he was brought to the hospital by the police does not make the
                decisions made by hospital to be those of the State. Doe v. l arrison, 254 F. Supp.
                2d 338, 344-45 (S.D.N.Y. 2003).

                b.     Public Function Test

                        State action occurs when a private actor performs a function which is
                the exclusive domain of the state. It is a stringent test since very few functions
                have been found to be public. Even if decedent was civilly committed, which he
                was not at the time of his elopement, it does not constitute a public function
                converting private action into state action. Doe, 254 F. Supp. 2d at 343.

                c.     Close Nexus Test

                        Plaintiff must establish a sufficiently close nexus between the state and the
                challenged action as to have the private action treated as that of the
                state. Blum, 457 U.S. at 1004. The purpose ofthis requirement is to "assure
                that constitutionally standards are invoked only when it can be said that
                the state is responsible for specific conduct of which plaintiff complains"
                id.

                       As in Doe plaintiff here makes no allegations the hospital is staffed by
                public officials or public officials direct the daily activities of the hospital. Id. at
                344.

                       Since plaintiff has failed to establish WMC was a state actor the § 1983
                claim must be dismissed. Doe v. Ro enberg, 996 F. Supp. 343 (1998), aff'd 166
                F.3d 507 (2d Cir. 1999).

        A private individual's acts or omissions may be found to constitute state action under

certain specific circumstances. Sybalskis v. Independent Group Home Living Program, Inc., 546

F. 3d 255 (2d Cir. 2008). These include where the individual acts pursuant to the "coercive

power" of the state or is "controlled" by the state, or where the individual is a willful participant

in joint activity with the state, or the individual's activities are "entwined" with state policies.

Lastly where the individual has been delegated a public function. Sybalskis, 546 F.3d at 257

citing Brentwood Academy v. Tennessee Secondary School Athletic Ass 'n., 531 U.S. 288, 296,

121 S.Ct. 924, 148 L.Ed. 2d 807 (2001).

       The activity that the defendants were performing, the practice of medicine, is not a

uniquely state function.      While there are hospitals operated by the state with physicians
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employed by the state, the vast majority of medicine is practiced by private individuals. The

cases concerning state appointed attorneys are analogous to this case. Despite being appointed

and paid by the state court, assigned lawyers performing traditional functions as counsel to

criminal defendants are not acting under color of state law. Lewis v. City of New York, 2009 U.S.

Dist. LEXIS 61009 (S.D.N.Y. 2009), Rodriguez v. Weprin, 116 F.3d 62, 65 (2d Cir. 1997). As

with court appointed attorneys, physicians who treat inmates do not become state actors merely

because the treatment occurs at the behest of the State or in the presence of State employees.

Physicians use their independent judgment in treating the inmates and do not rely on state actors

or regulations as to the medications to prescribe or the tests to order.

        If the court finds that the defendants are state actors they are entitled to qualified

immunity. State officials performing discretionary functions are protected from civil liability if

their conduct does not violate clearly established statutory or constitutional rights which a

reasonable person would know. Harlow, 457 U.S. at 818. The policy is designed to shield

officials who are performing their duties in a reasonable manner in good faith. Locurto v. Safir,

264 F.3d 154, 162-63 (2d Cir. 2001).

       Defendants herein maintain that they are not state actors nor did they conspire with state

actors. However, if the Court finds that they are state actors, defendants submit that they are

entitled to qualified immunity. Qualified immunity protects government officials from liability

for civil damages as long as their conduct does not violate clearly established statutory or

constitutional rights that a reasonable person would be aware of. Harlow v. Fitzgerald, 457 U.S.

800, 818, 102 S.Ct. 2727, 73 L.Ed. 2d 396 (1982). The threshold question is whether the

official's conduct violated a constitutional right. Saucier v. Katz, 533 U.S. 194, 206, 121 S.Ct.

2151, 150 L.Ed 2d 272 (2001).



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        As the Court is equally aware, an 81h Amendment Claim for deliberate indifference

incorporates objective and subjective elements.

        To state a claim for deliberate indifference to serious medical needs, a plaintiff "must

allege acts or omissions sufficiently harmful to evidence deliberate indifference to serious

medical needs." Estelle v. Gamble, 429 U.S. 97, 106 (1976). This test has an objective prong and

a mens rea prong: a plaintiff must plausibly allege (i) a "sufficiently serious" "deprivation of

adequate medical care," and (ii) that the defendants acted with a "sufficiently culpable state of

mind." Salahuddin v. Goard, 467 F.3d 263, 279-80 (2d Cir. 2006).

       The mens rea prong requires a showing that the defendant was aware of the plaintiff's

serious medical needs and consciously disregarded a substantial risk of serious harm. See

Salahuddin v. Goard, 467 F.3d at 280. "[T]he charged official must act with a sufficiently

culpable state of mind." Id. "To satisfy this prong of the deliberate indifference test, a plaintiff

must allege only that the defendant was aware of facts from which one could infer that a

substantial risk of serious harm existed, and that the defendant actually drew that inference."

Dotson v. Fischer, 613 F. App'x 35, 38 (2d Cir. 2015) (summary order). Defendants "must both

be aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists, and he must also draw the inference." Farmer v. Brennan, 511 U.S. 825, 837 (1994). To

comply with the subjective component, plaintiff must establish conduct which equates with

criminal recklessness. Moore v. Kwan, 683 Fed Appx. 24, 26 (2d Cir. 2017).




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         Objectively, alleged depravation must be sufficiently serious. Hathaway v. Coughlin, 37

F.3d 63, 66 (2d Cir. 1994). Ifthe claim is a failure to provide any treatment, the issue becomes

whether the condition is sufficiently serious. Smith v. Carpenter, 316 F .3d 178, 185-186 (2d Cir.

2003).

         Here, plaintiff fails plausibly to maintain the mens rea component of the deliberate

indifference claim because he does not allege any facts suggesting any defendant, Dr. Full,

"actually drew [an] inference" that a substantial risk ofharm would result from allowing plaintiff

to be removed from the dental clinic to be returned to the correctional facility. See Supra.

         First, plaintiff fails to allege any facts suggesting Dr. Full knew of, much less

"deliberately ignored" any alleged injury sustained by plaintiff in the dental clinic. See Johnson

v. Wright, 412 F.3d at 405. As evidenced from the within highlighted testimony of Dr. Full was

concerned for and respected plaintiffs wishes in treatment and observed no signs of injury or

complaint to plaintiff following the alleged incident (Supra).

         Second, plaintiff has not demonstrated that plaintiffs condition had deteriorated so

significantly in the dental operatory after contact with the correction officers that defendant must

have drawn the inference that he was seriously injured warranting medical intervention.

         Third, plaintiff was under the care of attending Dr. Weber, who remained involved in the

patient's care after the procedure was aborted and resident Dr. Full proceeded to assist other

patients in the clinic.

         Fom1h, plaintiffs allegations that he should not have been discharged from the dental

clinic and/or he should have been medically evaluated in the emergency room, at most, rises to a

state-law claim for medical malpractice. But "[m]edical malpractice does not rise to the level of a

constitutional violation unless the malpractice involves culpable recklessness." Hill v. Curcione,

657 F.3d 116, 123 (2d Cir. 2011). Here plaintiff did not voice or show any evidence of injury

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while in the clinic, no concerns were raised by the correction officers as to his condition, and Dr.

Weber nor Dr. Full observed any obvious need to recommend plaintiff to the ER. Further, Dr.

Full, as a resident physician who was not plaintiffs attending physician, deferred to the

attending, Dr. Weber, who made the decision to discharge the plaintiff, as he does with all

correction patients.

        Defendants aver not every error or delay in treatment will rise to the level of a

constitutional violation.

        An inmate must demonstrate more than an inadvertent failure to provide adequate

medical care to establish an Eighth Amendment claim. Estelle v. Gamble, 429 U.S. 97, 105-06,

97 S.Ct. 285, 50 L.Ed. 2d 251 (1976). An official acts with deliberate indifference when that

official "knows of and disregards an excessive risk to inmate health or safety."            Chance v.

Armstrong, 143 F.3d 698, 702 (2d Cir. 1998). It requires a state of mind "equivalent to the

familiar standard of 'recklessness' as used in criminal law." Phelps v. Kapnolas, 308 F.3d 180,

186 (2d Cir. 2002).

        Under both criteria defendants are entitled to qualified immunity. While it is conceded

that it was clearly established that the Eighth Amendment is violated if an inmate is deliberately

not given medically necessary and available treatment, the proof establishes that it was

objectively reasonable for the defendants to believe that they did not violate "clearly established"

statutory or constitutional rights that a reasonable person would have known.           It was also

objectively reasonable for defendants to believe that they were acting lawfully in the treatment of

the inmate. Dichiara v. Wright, 2011 U.S. Dist. LEXIS 35015 (E.D.N.Y. 2011), Connecticut ex

rei. v. Crotty, 346 F.3d 84, 102 (2d Cir. 2003).

       Plaintiffs main claim of deliberate indifference that seems to have been flushed out

through discovery against Dr. Full appears to reset with his execution of the Aldrate score sheet

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outlining plaintiffs post anesthesia recovery. This one sheet was not the sole basis of the

decision to discharge plaintiff from the clinic. In fact, it was by plaintiffs actions that caused the

procedure to be aborted; sedation was not fully administered; and his actions supported the

findings of the Aldrate score which was completed at the conclusion of the procedure. Dr. Weber

remained in charge of the patient and it was based on his observations and decision that the

patient was discharged to the Correction Officers to be brought back to the correctional facilities.

Dr. Full had no duty, role or responsibility in the decision making process to release the plaintiff

from the clinic.

          Plaintiffs claim of an alleged delayed proper treatment of the neck injury also does not

support a claim for deliberate indifference. While delays                    i~   providing any treatment may in

some cases state a claim, it is only when officials deliberately withhold care as a form of

punishment or delay major surgery. Tatum v. City of New York, 2009 U.S. Dist. Lexis 3512

2009 WL124881 (SONY 2009), plaintiffs disagreement regarding the appropriate course of

treatment does not state a constitutional claim.                  Vann v. Sudranski, 2017 U.S. Dist. Lexis

209439; 2017 WL 6515612 (SONY 2017). In this case, there is no evidence that the dental team,

including Dr. Weber, Dr. Full or the other dental clinicians purposefully delayed or withheld

treatment from plaintiff. There is also no evidence that Dr. Full or any other health care provider

at WMC was acting with an ulterior motive. Bamm Paul Oh v. Saprano, 2020 U.S. Dist. Lex is

132361, *24-25 2020 WL 4339476. Deliberate indifference has been equated with the concept of

gross negligence 1 and willful misconduct 2. Poe v. Leonard, 282 F.3d 123, 140 (2002).




1
  Gross negligence means a failure to use even slight care, or conduct that is so careless as to show complete
disregard for the rights and safety of others. PJl 2:1 OA
2
  Willful misconduct occurs when a person intentionally acts or fails to act knowing that (his, her) conduct will
probably result in injury or damage. Willful misconduct also occurs when a person acts in so reckless manner or
fails to act in circumstances where an act is clearly required, so as to indicate disregard of the consequence of (his,
her) action or inaction. PJI 2:10A
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        Plaintiff also refers alleged errors to the post-anesthesia evaluation form and the Aldrete

score (Dental Chart, Ex. B) that supports his 81h amendment claim. This document was prepared

by Dr. Full at 12:50pm on 8/31/17, after the patient had been discharged (Ex. A at 101).

However, this document does not support his claim of medical indifference. Dr. Full testified

that after the procedure the patient is monitored and assessed to make sure they recovered from

anesthesia (Ex. A at 88). Dr. Full completed the form to the best ofhis ability given the situation

which occurred; to wit, when plaintiff stood up from the chair the [blood pressure, EKG pads and

pulse oximeter] monitor was caused to crashed to the ground (Ex. A at 42-43, 45).

       The Post Anesthesia Form noted plaintiff was awake, his airway was patent, and he was

100% on room air (Ex. B). The Aldrete I Score was 10/10 based on 5 categories: activity,

respiration, consciousness, circulation and oxygen (Ex. B). Dr. Full documented plaintiff was

able to move, breath freely, he was awake, had a normal BP, and was on 92%+ room air (Dental

Chart). While Dr. Full documented plaintiffs vitals on the form, his blood pressure and pulse,

these would have been obtained from the last reading of the monitors, prior to plaintiff knocking

them over when he stood up (Ex. A at 103). Dr. Full completed the form based on the last

observation he had of the patient which was sitting on the floor when he was de-escalating, as

well as based on Dr. Weber's assessment of the patient. (Ex. A at 105) Dr. Weber testified when

he saw plaintiff sitting on the ground he was able to move (Ex. A at 106), he was breathing

freely on his own (Ex. A at Ill).

       When the patient was discharged it was based on the assessment made by the attending,

Dr. Weber, who discharges the patients and determines if the patient is ready to go (Ex. A at

109). Dr. Full was not involved in the discharge of the patient, however, based on his

observations and that of Dr. Weber's, there was no problem with him on discharge (Ex. A at

109). The last time plaintiff was seen by Dr. Full, when he was sitting on the floor in restraints,

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his eyes were open, he did not display any deficits (Ex. A at 66, 109, 129). Dr. Full did not

observe him unconscious or unable to move his arms or legs (Ex. A at 121).

          At no point in time did Dr. Full hear any complaints of being injured, hear him make any

requests for medical treatment or see evidence he had "some type of paralysis from the neck

down"; he did not see him when he was in the wheelchair or when he was discharged (Ex. A at

72-74, 107, 109, 138). As such it is axiomatic that Dr. Full was indifference to plaintiff's medical

needs nor was in a position to "intervene" when corrections escorted plaintiff from the dental

clinic.

          In sum, the allegations of the complaint as to WMC and DR. Full are essentially summed

up to whether or not plaintiff was properly released from the dental clinic to Corrections to return

to the correctional facility in light of his post procedure presentation. To claim Dr. Full or any of

the other staff "should have" intervened at any point in time is an unbased assertion. It is clear

from the record and testimony of Dr. Full and that of Dr. Weber, they saw no signs of excessive

force used, plaintiff exhibited no signs of injury, made no complaints, was verbal and mobile

given his outburst and actions at the time the procedure was aborted and Dr. Full did not see the

plaintiff after he was sitting up on the floor and did not see plaintiff when he left in a wheelchair,

which he testified was normal practice for patient's who had received sedation. Nowhere in this

fact pattern could one find Dr. Full acted with the necessary mens rea and provided inadequate

medical care because plaintiff failed to allege acts or omissions sufficiently harmful to evidence

defendant's "deliberate indifference" to plaintiff's medical needs and failed to provide expert

opinion within a reasonable degree of medical certainty that he departed from good and accepted

dental practice in the treatment of the plaintiff. (Supra, Dr. Full/Weber transcripts, Ex. A, D).

          Plaintiff's complaint alleges predominantly state claims of medical malpractice. While

there is a deliberate indifference allegation there are no facts alleged in support of said claim as

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against WCHCC and Dr. Full. At best, plaintiffs allegations against WMC and Dr. Full, could

be construed to allege a claim of negligent medical care and treatment. However, mere

negligence even to the level of medical malpractice is insufficient to state a deliberate

indifference claim. Dean v. Coughlin, 804 F.2d 207, 215 (2d Cir. 1986), Estelle v. Gamble, id.

105-106. As such, the 8th Amendment Claims against WCHCC, WMC and Dr. Full should be

dismissed.

                                            POINT IV

          WCHCC IS NOT VICARIOUSLY LIABLE FOR DR. FRANK WEBER


        The claim for vicarious liability and respondent superior should be dismissed.

       It is well established that "In general, a hospital may not be held vicariously liable for the

malpractice of a private attending physician who is not an employee" (Toth v Bloshinsky, 39

AD3d 848, 850, 835 NYS2d 301 [2007]; see Hill v St. Clare's Hosp. , 67 NY2d 72, 79, 490 NE2d

823, 499 NYS2d 904 [1986]; Diller v Munzer, 141 AD3d 628, 629, 34 NYS3d 608

[2016]; Muslim v Horizon Med. Group, P.C., 118 AD3d 681 , 683, 988 NYS2d 628

[2014]; Cor/etta v Fischer, 101 AD3d 929, 930; 956 NYS2d 163 [2012]).

       WCHCC is not responsible for the actions or the alleged malpractice by Dr. Frank

Weber. Dr. Frank Weber was not an employee of WCHCC. Dr. Weber was a self employed,

private dental attending, who had privileges at WMC. He had entered into a contract directly

with NYS DOCCS on January 10, 2018 to provide oral surgery services to incarcerated persons

(DOCCS agreement for services, Ex. E). Dr. Weber testified he was employed by the State (Ex.

D, at 10). WCHCC was not a party to or involved in the contract between Dr. Weber and NYS

DOCCS (Ex. E) The Agreement between DOCCS and Dr. Weber called for him to provide oral

surgery services at WMC as well as clinical evaluations and treatment as an independent

contractor.(Ex.E).
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        The plaintiff was a patient of Dr. Weber who he saw through DOCCS. The arrangements

for the appointment to provide the plaintiff with oral surgical services on August 31, 2018 was

solely undertaken by DOCCS and Dr. Frank Weber. As the plaintiffs dental attending it was Dr.

Weber who solely determined which specific dental services he provided to his patient, the

plaintiff on August 31, 2018 pursuant to his contract with DOCCS. As his private attending. Dr.

Weber determined the manner of and execution of the type of dental services provided to his

patient the plaintiff on August 31, 2018 including the discharge of the plaintiff from the facility.

        Further, "A hospital may not be held liable for injuries sustained by a patient who is

under the care of a private attending physician ... where the resident physicians and nurses

employed by the hospital merely carry out the orders of the private attending physician, unless

the hospital staff commits "independent acts of negligence or the attending physician's orders are

contraindicated by normal practice" (Tomeo v Beccia, 127 AD3d 1071, 1073, 7 NYS3d 472

[2015] [internal quotation marks omitted]; see Cham v St. Mary's Hosp. of Brooklyn, 72 AD3d

1003, 1004, 901 NYS2d 65 [2010]; Cerny v Williams, 32 AD3d 881, 883, 822 NYS2d 548

[2006]); Gattling v Sisters of Charity Med. Ctr., 150 A.D.3d 701, 53 N.Y.S.3d 665, 2017 N.Y.

App. Div. LEXIS 3427, 2017 NY Slip Op 03493, 2017 WL 1657574; Cynamon v Mount Sinai

Hosp., 163 A.D.3d 923, 81 N.Y.S.3d 520,2018 N.Y. App. Div. LEXIS 5428,2018 NY Slip Op

05448, 2018 WL 3559149.

       Additionally, while Dr. Weber was able to treat patients at WMC through DOCCS this

does not impute liability upon WMC for his actions. The status of being an attending physician

at a hospital, not constituting employment, alone is insufficient to impute the physicians' alleged

negligence to the hospital. Hill v. St. Clare's   Hosp~,   67 N.Y.2d 72, 79 (1986). A physicians'

affiliation with a hospital in the form of admitting privileges does not, by itself, create vicarious



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liability on the part of the hospital. Ruane v. Niagara Falls Mem. Med. Center, 60 N.Y.2d 908,

909 (1983).

        Where residents, such as Dr. Full, or other hospital personnel attend to the plaintiff and

follow the direction of the attending physician, there is no liability to the hospital for the alleged

negligence of an attending unless the staff knows the physicians' orders are "so clearly

contradicted by normal practice." Walter v. Betancourt, 283 A.D.2d 223, 224 (1st Dep't 2001),

Garson v. Beth Israel, 41 A.D.3d 159, 160-161 (1st Dep't 2007). Here there is no evidence that

the actions of Dr. Weber "so clearly contradicted" normal practice; this is demonstrated by

expert opinion as well as his and Dr. Full's testimony that they observed nothing that would raise

concern plaintiff was injured to the degree he was when he left the dental clinic.

       WCHCC or Dr. Full did not have the duty to discharge Dr. Weber's patient. Dr. Full

testified that Dr. Weber makes the decision to discharge the patients (Ex. A at 70-71). As a private

attending, contracted with the State for dental services, WCHCC did not employ Dr. Weber, nor

responsible for his actions concerning the care and treatment of the plaintiff. There is no

evidence the staff at WMC failed to follow the orders of the attending physician. Dr. Weber

testified Dr. Full was his assistant and he directed and supervised his actions (Ex. D at 249. Dr.

Weber made sure plaintiffwas "OK to be discharged" (Ex. D at 135).

       Whereas here, the employees of a hospital such as Dr. Full, followed the orders of the

attending physician and those orders are not clearly contradicted by normal practice, the hospital

is not vicariously liable for the alleged negligence of the private attending physicians, Filippone

v. St. Vincent's Hosp. & Medical Ctr:., 253 A.D.2d 616, 618 (1st Dep 't 1998).




                                             CONCLUSION
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         For all of the forgoing reasons, Defendants' motion should be granted in its entirety.

         Date: June 6, 2022
                 White Plains, NY
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